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EXHIBIT “A”

ADMISSIONS AND DENIALS

 

1. The following paragraphs of the Bidding Procedures Motion are admitted: 4, 5, 6,
8, 9, 10, 11 (except MDVA lacks sufficient knowledge to admit or deny the number of trucks
and trailers Debtors own and lease, so that is denied) and 12 (first sentence only).

2. MDVA lacks sufficient personal knowledge to admit or deny the allegation in
paragraphs 7 (except that MDVA admits that Debtors filed the declaration of Gary Rahlfs), 12
(all but first sentence), 13 (except that MDVA admits the Debtors commenced chapter 11 cases),
14 (except MDVA admits Debtors obtained post-petition financing of $425 million), 15 (except
MDVA admits Debtor and Evercore engaged in discussions with DFA and that Debtors made a
November 12, 2019 announcement), 16, 17 (except MDVA admits existence of the data room
and access to it), 18 (except MDVA admits that Debtors have proposed that DFA be a stalking
horse and that there is a Stalking Horse Agreement), 19, 20 (except (1) MDVA admits that
Debtors have proposed an auction process, and (11) the last sentence is legal argument and not
subject to admission or denial), 21 (except that the last sentence is legal argument and not subject
to admission or denial), and 22-24 of the Bidding Procedures Motion. They are therefore denied.

3. Paragraphs 1, 2, 3 (except MDVA admits venue is proper) 20 (last sentence only),
21 (last sentence only), 25-70 of the Bidding Procedures Motion are legal argument not

susceptible to admission or denial. To the extent facts are alleged they are denied.
